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                         IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )         Case no. 1:21-cr-00003-RCL-1
                                              )
JACOB ANTHONY CHANSLEY,                       )
                                              )
        Defendant.                            )

     DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION TO CONTINUE AND
             TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        Comes now Defendant, Jacob Chansley, by and through his undersigned counsel, and for

Defendant’s Response to Government’s Motion To Continue and to Exclude Time Under the

Speedy Trial Act, states to the Court as follows:

      1. The Defendant does not object to either the request of the Government or the
Government’s asserted basis for the Motion.
      2. The Defendant further does not object to the limited temporal scope of the tolling of the
Speedy Trial Act.
      3. The Defendant specifically notes that he does not waive his right to a Speedy Trial under
the Speedy Trial Act, 18 U.S.C. § 3161 et seq.

                                       Respectfully Submitted,

                                       KODNER WATKINS, LC


                                       By:___/s/ Albert S. Watkins________________
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                                           Clayton, Missouri 63105
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                                  CERTIFICATE OF SERVICE



                                                    1
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        Signature above is also certification that on March 19, 2021, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system which
will send notification of such filing to all parties of record.




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